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15
                          UNITED STATES DISTRICT COURT FOR THE
16                           CENTRAL DISTRICT OF CALIFORNIA
17     DANIELLA SLATER AND DAMIEN                 Case No. 5:16-CV-01103-JFW-KK
       SLATER, individually and as successors
18     in interest, by and through their Guardian [Hon. John F. Walter]
       ad Litem Sandra Salazar; TINA SLATER
19     AND DAVID BOUCHARD, individually; SUPPLEMENT TO PLAINTIFFS’
                                                  EVIDENCE IN OPPOSITION TO
20                              Plaintiffs,       DEFENDANTS’ MOTION FOR
                                                  SUMMARY JUDGMENT:
21     vs.                                        EXCERPTS OF DEPOSITION
       DEPUTY SHANDON DEASEY;                     TRANSCRIPT OF LETICIA
22     DEPUTY PETER GENTRY; DEPUTY                SCHUMAN, M.D.
       GARY BRANDT; SGT. MIKE RUDE;
23     COUNTY OF SAN BERNARDINO; and
       DOES 1-10, INCLUSIVE.
24                              Defendants.
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                                                                               Case No. 5:16-CV-01103-JFW-KK
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     SUPPLEMENT TO PLAINTIFFS’ EVIDENCE IN OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT: EXCERPTS OF
                                   DEPOSITION TRANSCRIPT OF LETICIA SCHUMAN, M.D.
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      SUPPLEMENT TO PLAINTIFFS’ EVIDENCE IN OPPOSITION TO DEFENDANTS’ MOTION
 1     FOR SUMMARY JUDGMENT: EXCERPTS OF DEPOSITION TRANSCRIPT OF LETICIA
                                   SCHUMAN, M.D.
 2

 3    30:11-19             Mr. Sain: Okay. Other than your own examination of Mr. Slater’s
 4                         body during the autopsy, other than the deputy coroner’s
                           investigative results that were provided to you in the form of a
 5
                           report, is there any other evidence or information that you relied
 6                         upon in the formation of your opinions in connection with the death
 7                         of Joseph Slater?
                           Dr. Schuman: No.
 8

 9
      69:14-70:11          Mr Sain: Are there any other specific facts that you documented
                           regarding your external exam for Mr. Slater on this page of Exhibit
10
                           7?
11                         Dr. Schuman: At the top I have made notes prior to autopsy that he
12                         was 28 years old, a white male found unresponsive in the back of
                           car, possible knee strike to chest, erratic behavior, and a question
13
                           mark, blood disease.
14                         Mr. Sain: Where you write on your notes “possible knee strike to
15                         chest,” what was the source of that information?
                           Dr. Schuman: I can’t remember exactly the source. My best guess
16
                           would be I received the information from the investigative report.
17                         Mr. Sain: Okay. The investigative report was Exhibit 5; correct?
18                         Dr. Schuman: Yes.
19                         Mr. Sain: All right. Let’s take a look at that, and you tell me if you
                           can point out to me where it says something about a possible knee
20
                           strike.
21                         Dr. Schuman: It is on page 3 –
22                         Mr. Sain: What does it say?
                           Dr. Schuman: – of the – it says Detective De La Torre said the only
23
                           use of force was the pepper spray deployment and a possible knee
24                         strike to Slater’s upper body.
25
      70:9-11              Dr. Schuman: – of the – it says Detective De La Torre said the only
26                         use of force was the pepper spray deployment and a possible knee
                           strike to Slater’s upper body.
                                                                               Case No. 5:16-CV-01103-JFW-KK
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     ____________________________________________________________________________________________________________
     SUPPLEMENT TO PLAINTIFFS’ EVIDENCE IN OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT: EXCERPTS OF
                                   DEPOSITION TRANSCRIPT OF LETICIA SCHUMAN, M.D.
Case 5:16-cv-01103-JWH-KK Document 122 Filed 08/25/17 Page 3 of 3 Page ID #:5034




 1    109:11-16            Mr. Sain: Other than what you’ve stated on the record here today, are
 2                         there any other documents, records, recordings, reports, or
                           photographs that you reviewed and/or relied upon in the formation of
 3
                           your opinions regarding the cause of death for Mr. Slater?
 4                         Dr. Schuman: No.
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                                                                               Case No. 5:16-CV-01103-JFW-KK
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     SUPPLEMENT TO PLAINTIFFS’ EVIDENCE IN OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT: EXCERPTS OF
                                   DEPOSITION TRANSCRIPT OF LETICIA SCHUMAN, M.D.
